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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,                 Case No. 1:24-cv-7362

           Plaintiff,

                    -against-

ZHABILOV ET AL,

           Defendants.



              STIPULATION AND ORDER SUBSTITUTING ATTORNEYS

        The undersigned hereby stipulates and consents to the substitution of the law firm of

 Lucosky Brookman LLP, by and through its attorneys, Samuel L. Blatnick and Anne Melton, as

 attorneys of record for Defendant Dannie Zhabilov in the above-captioned action in place and

 instead of the law firm of Tarter Krinsky & Drogin LLP, and its attorneys Robert G. Heim and

 Michael J. Grudberg.

 Dated: December 16, 2024.

  TARTER KRINSKY & DROGIN LLP                 LUCOSKY BROOKMAN LLP

  /s/ Robert G. Heim                          /s/ Samuel L. Blatnick
  Robert G. Heim                              Samuel Blatnick
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  DEFENDANT DANNIE ZHABILOV                   SUBSTITUTED ATTORNEYS FOR
                                              DEFENDANT DANNIE ZHABILOV
